                                         Case Number:22-002722-CI
        Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 1 of 24 PageID 33
Filing # 151072589 E-Filed 06/08/2022 10:39:12 AM


                                                        IN THE CIRCUIT COUTH SIXTH
                                                        JUDICIAL CIRCUIT, IN AND FOR
                                                        PINELLAS COUNTY, FLORIDA

         WANDA SANTOS,                                  CASE NO.:

                     Plaintiff,
         v.


         ST. PETERSBURG COLLEGE,

                  Defendant.
         ________________________________/


                                              COMPLAINT

               Plaintiff, Wanda Santos, by and through the undersigned

         attorneys, sues Defendant, St. Petersburg College, and alleges as

         follows:


               1.     This is an action for damages that exceed $30,000,
                      exclusive of court costs and attorney’s fees.

               2.     This is an action for compensatory and punitive damages
                      due to National Origin discrimination in employment
                      brought pursuant to Title VII of the Civil Rights Act
                      of 1964, 42 U.S.C. § 2000e, et seq., and the Civil
                      Rights Act of 1991,42 U.S.C. § 1981a, et seq., which
                      effects the nature of claims and damages for cases
                      brought pursuant to Title VII.

               3.     The Court has jurisdiction to hear this cause pursuant
                      to 42 U.S.C. § 2000e-5(f) and other applicable federal
                      and laws.

               4.     At all times relevant, Defendant was a public (State of
                      Florida) college of higher education with its principal
                      location in Pinellas County, Florida.

               5.     At all times relevant, Plaintiff was a citizen of the
                      United States.


                                            Page 1 of       4




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      6.    At all times relevant, Plaintiff was an “employee” and
            Defendant was an “employer” as contemplated by Title
            VII.

      7.    At all times relevant, prior to July 31, 2021,
            Plaintiff was employed by Defendant in the capacity as
            a full- time Professor for and with Defendant’s College
            of Education, a position she was hired into by
            Defendant on July 1, 2015.

      8.    All acts giving rise to Plaintiff’s claims occurred in
            Pinellas County, Florida

      9.    Plaintiff is of Hispanic (Puerto Rican) National
            Origin. Such Hispanic national origin is obvious by
            her physical appearance, by reference to her last name,
            and at all times was well-known to Defendant.

      10.   During her employ between July 2015 and June 2021
            Plaintiff performed successfully at her work, and was
            even given an administrative position in addition to
            her teaching responsibilities, as instructor in charge
            for school partnerships.

      12.   During said six year period she always had satisfactory
            evaluations, and never received negative comments on
            any evaluations.

      13.   During said six year period she received numerous
            awards and was instrumental in raising the
            credentialing score of the College of Education.

      14.   Defendant conducts yearly evaluations of professors,
            such as Plaintiff, until their fifth year of
            employment. After the fifth year the typical practice
            is to offer the professor a five-year continuing
            contract. This process involves the Dean of the
            College of Education making a recommendation to the
            Board of Trustees as to whom should be selected for
            various contracts.

      15.   Plaintiff was eligible for consideration for a
            five-year contract in 2020 however, despite her
            exceptional performance in both her teaching and
            administrative positions was only offered a one-year
            contract, which to Plaintiff’s knowledge was very
            rarely, if ever, offered. Plaintiff having no other
            option if she wished to remain employed, accepted the

                               Page 2 of    4
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 3 of 24 PageID 35



            one-year contract for the 2020-2021 school year.

      16.   In 2020, Defendant offered five-year contracts to two
            Caucasian professors, who were solely in teaching
            positions and lacked much of the accolades and
            experience that Defendant received throughout her
            employ.

      17.   In June of 2021, Defendant informed Plaintiff by mail
            that she was being placed on administrative leave until
            the end of her current contract and that she would not
            be offered a contract for the 2021-2022 school year
            stating that “the college is headed in a different
            direction”. This effectively terminated Plaintiff’s
            employ with Defendant.

      18.   Defendant placed Plaintiff on Administrative leave and
            refused to renew her contract because of Defendant’s
            national origin and Defendant’s preference to employ
            Caucasian employees and any other claimed cause by
            Defendant is pretextual.

      19.   On or about December 7, 2021 Plaintiff timely filed a
            Charge of Discrimination with the United States Equal
            Employment Opportunity Commission (EEOC), Charge Number
            511-2021-02031 wherein Plaintiff charged Defendant with
            National Origin discrimination in employment related to
            the failure to offer Plaintiff a continuing work
            contract by Defendant in contravention of Title VII of
            the Civil Rights Act of 1964, 42 U.S.C. 2000e, et seq.

      20.   The EEOC issued Plaintiff a notice of suit rights which
            allowed Plaintiff to bring the instant action against
            Defendant, a copy of which is attached to this
            complaint as “EXHIBIT A.”

      21.   This action against Defendant is timely commenced
            because it was filed within 90 days of Plaintiff’s
            receipt of his notice of suit rights letter.

      22.   As a result of Defendant’s illegal race discrimination
            against Plaintiff, Plaintiff has suffered damages, and
            will suffer damages in the future, consisting of loss
            of back pay, interest on back pay, loss of front pay,
            loss of anticipated salary due to salary increases,
            loss of opportunity, emotional pain, suffering and
            inconvenience, and mental anguish.


                               Page 3 of    4
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      23.   Plaintiff has retained the undersigned attorney to
            assist her in prosecuting this matter and Plaintiff is
            entitled to recover her reasonable attorney’s fees
            incurred therefor from Defendant should she be the
            prevailing party in this matter, and subject to any
            appropriate Lonestar multiplier.

      24.   Defendant engaged in the above-stated national origin
            discrimination as to Plaintiff with malice or reckless
            indifference to Plaintiff’s federally-protected rights.

      25.   Defendant should be punished for it’s actions towards
            Plaintiff.

      WHEREFORE, Plaintiff demands judgment against Defendant for

the compensatory damages as alleged above, plus punitive damages,

court costs, reasonable attorney’s fees, and other legal and

equitable relief the Court deems just and proper.


                                JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.




                                         ALL FLORIDA JUSTICE, LLC




                                         _________________________
                                         Donald E. Pinaud, Jr.
                                         Fla. Bar No.: 111694
                                         4530 St. John’s Avenue
                                         Suite 15-202
                                         Jacksonville, Florida 32210
                                         (904)552-5500
                                         (904)467-3500 - Fax
                                         AllFloridaJustice.com
                                         Don@AllFloridaJustice.com
                                         Attorneys for Plaintiff



                               Page 4 of    4
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 5 of 24 PageID 37

        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                          Tampa Field Office
                                                                                   501 East Polk St ,Suite 1000
                                                                                        Tampa ,Florida ,33602
                                                                                               (800) 669-4000
                                                                                      Website: www.eeoc.gov


                  DETERMINATION AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)


To: Dr. Wanda Santos
    4224 Crayford Ct
    LAND O LAKES, FL 34638

Charge No: 511-2021-02031

EEOC Representative and email:            My Linh Kingston
                                          Federal Investigator
                                          mylinh.kingston@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does
not certify that the respondent is in compliance with the statutes. The EEOC makes no finding as
to the merits of any other issues that might be construed as having been raised by this charge.

                           NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 511-2021-02031.


                                            On Behalf of the Commission:
                                                                            Digitally signed by Evangeline
                                                                            Hawthorne
                                                                            Date: 2022.03.29 09:02:16 -04'00'




                                                                                         EXHIBIT A
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 6 of 24 PageID 38

        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                    Tampa Field Office
                                                             501 East Polk St ,Suite 1000
                                                                  Tampa ,Florida ,33602
                                                                         (800) 669-4000
                                                                Website: www.eeoc.gov


Cc:
Mark Levitt
ALLEN NORTON & BLUE
1477 West Fairbanks Ave, Ste. 100
Tampa, FL 33602

Mia Conza
Associate General Counsel
Saint Petersburg College
Downtown DC-E432
PO Box 13489
St. Petersburg, FL 33733

Don Pinaud
4530 St. Johns Ave.
Jacksonville, FL 32210

Please retain this notice for your records.
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 7 of 24 PageID 39
Enclosure with EEOC Notice of Closure and Rights (Release Date)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
  (This information relates to filing suit in Federal or State court under Federal law. If you also
 plan to sue claiming violations of State law, please be aware that time limits may be shorter and
            other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.

In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.
HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 8 of 24 PageID 40
Enclosure with EEOC Notice of Closure and Rights (Release Date)



Since a lawsuit must be filed within 90 days of this notice, please submit your request for the
charge file promptly to allow sufficient time for EEOC to respond and for your review. Submit a
signed written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge
Number 511-2021-02031 to the District Director at Roberto Chavez, 100 SE 2nd St Suite 1500
Miami, FL 33131. You can also make a FOIA request online at
https://eeoc.arkcase.com/foia/portal/login.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
provide a copy of the court complaint to EEOC.

For more information on submitting FOIA Requests and Section 83 Requests, go to:
https://www.eeoc.gov/eeoc/foia/index.cfm.
                                                 Case Number:22-002722-CI
        Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 9 of 24 PageID 41
Filing # 151072589 E-Filed 06/08/2022 10:39:12 AM



         FORM 1.997.        CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)


                 I.      CASE STYLE

                       IN THE CIRCUIT/COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT,
                                IN AND FOR PINELLAS COUNTY, FLORIDA

         Wanda Santos
         Plaintiff                                                                Case #
                                                                                  Judge
         vs.
        Saint Petersburg College
         Defendant



                 II.     AMOUNT OF CLAIM
        Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
        the claim is requested for data collection and clerical processing purposes only. The amount of the claim
        shall not be used for any other purpose.

         ☐ $8,000 or less
         ☐ $8,001 - $30,000
         ☐ $30,001- $50,000
         ☐ $50,001- $75,000
         ☐ $75,001 - $100,000
         ☒ over $100,000.00

                 III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.




                                                           -1-

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Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 10 of 24 PageID 42




 CIRCUIT CIVIL

 ☐ Condominium
 ☒ Contracts and indebtedness
 ☐ Eminent domain
 ☐ Auto negligence
 ☐ Negligence—other
       ☐ Business governance
       ☐ Business torts
       ☐ Environmental/Toxic tort
       ☐ Third party indemnification
       ☐ Construction defect
       ☐ Mass tort
       ☐ Negligent security
       ☐ Nursing home negligence
       ☐ Premises liability—commercial
       ☐ Premises liability—residential
 ☐ Products liability
 ☐   Real Property/Mortgage foreclosure
         ☐ Commercial foreclosure
         ☐ Homestead residential foreclosure
         ☐ Non-homestead residential foreclosure
         ☐ Other real property actions

 ☐Professional malpractice
       ☐ Malpractice—business
       ☐ Malpractice—medical
       ☐ Malpractice—other professional
 ☐ Other
       ☐ Antitrust/Trade regulation
       ☐ Business transactions
       ☐ Constitutional challenge—statute or ordinance
       ☐ Constitutional challenge—proposed amendment
       ☐ Corporate trusts
       ☐ Discrimination—employment or other
       ☐ Insurance claims
       ☐ Intellectual property
       ☐ Libel/Slander
       ☐ Shareholder derivative action
       ☐ Securities litigation
       ☐ Trade secrets
       ☐ Trust litigation


 COUNTY CIVIL

 ☐ Small Claims up to $8,000
 ☐ Civil
 ☐ Real property/Mortgage foreclosure
                                                   -2-
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 11 of 24 PageID 43



 ☐ Replevins
 ☐ Evictions
       ☐ Residential Evictions
       ☐ Non-residential Evictions
 ☐ Other civil (non-monetary)

                                      COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes ☐ No ☒

         IV.   REMEDIES SOUGHT (check all that apply):
         ☒ Monetary;
         ☒ Nonmonetary declaratory or injunctive relief;
         ☐ Punitive

         V.     NUMBER OF CAUSES OF ACTION: [ ]
         (Specify)

           1

         VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                 ☐ yes
                 ☒ no

         VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                 ☒ no
                 ☐ yes If “yes,” list all related cases by name, case number, and court.


         VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
               ☐ yes
               ☒ no


         IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                 ☐ yes
                 ☒ no


 I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
 my knowledge and belief, and that I have read and will comply with the requirements of
 Florida Rule of Judicial Administration 2.425.

 Signature: s/ Donald E Pinaud Jr                       Fla. Bar # 111694
                Attorney or party                                      (Bar # if attorney)

Donald E Pinaud Jr                               06/08/2022
 (type or print name)                            Date

                                                 -3-
Filing # Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 12 of 24 PageID 44
         154554261  E-Filed 08/02/2022 05:36:09 PM


                                                       IN THE CIRCUIT COURT, SIXTH
                                                       JUDICIAL CIRCUIT, IN AND FOR
                                                       PINELLAS COUNTY, FLORIDA

         WANDA SANTOS
                                                       CASE NO: 22-002722-CI
                      Plaintiff,

         vs.

         ST. PETERSBURG COLLEGE

                   Defendant.
         ___________________________________/

                                              SUMMONS
         THE STATE OF FLORIDA:

         TO EACH SHERIFF OF THE STATE: You are commanded to serve this summons and a
         copy of the Complaint in this lawsuit on the below-named Defendant.


         DATED this _______ day of _______________, ___________.


                                                       Ken Burke, CPA
                                                       Clerk of the County Court



                                                            NOT ISSUED - PREVIOUSLY ISSUED FOR SAME PART
                                                       By: _______________________
                                                             Deputy Clerk


         TO:   ST. PETERSBURG COLLEGE
               244 Second Ave N.
               St. Petersburg, FL 33701



                                      *** IMPORTANT ***

              You are required to serve written defenses to the attached
         Complaint or Petition on the below-named Plaintiff’s attorneys at
         their stated address within 20 days after you are served with
         this summons, exclusive of the day of service, and to file the
         original of the defenses with the clerk of this Court either
         before service on Plaintiff’s attorneys, or immediately

                                            Page 1 of      2




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 thereafter. If you fail to do so, a default will be entered
 against you for the relief demanded in the complaint.




                                    Donald E. Pinaud, Jr.
                                    Florida Bar No. 111694


                                    ALL FLORIDA JUSTICE, LLC
                                    4530 St. Johns Avenue
                                    Suite 15-202
                                    Jacksonville, Florida 32210
                                    (904)552-5500
                                    (904)467-3500 (fax)
                                    Don@AllFloridaJustice.com
                                    Attorneys for Plaintiff(s)




                                Page 2 of   2
Filing # Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 14 of 24 PageID 46
         154554357  E-Filed 08/02/2022 05:37:22 PM


                                                       IN THE CIRCUIT COURT, SIXTH
                                                       JUDICIAL CIRCUIT, IN AND FOR
                                                       PINELLAS COUNTY, FLORIDA

         WANDA SANTOS
                                                       CASE NO: 22-002722-CI
                      Plaintiff,

         vs.

         ST. PETERSBURG COLLEGE

                   Defendant.
         ___________________________________/

                                              SUMMONS
         THE STATE OF FLORIDA:

         TO EACH SHERIFF OF THE STATE: You are commanded to serve this summons and a
         copy of the Complaint in this lawsuit on the below-named Defendant.

                                    AUG 03 2022
         DATED this _______ day of _______________, ___________.


                                                       Ken Burke, CPA
                                                       Clerk of the County Court



                                                       By: _______________________
                                                             Deputy Clerk


         TO:   ST. PETERSBURG COLLEGE
               244 Second Ave N.
               St. Petersburg, FL 33701                KEN BURKE CLERK CIRCUIT COURT
                                                       315 Court Street
                                                       Clearwater, Pinellas County, FL 33756-5165


                                      *** IMPORTANT ***

              You are required to serve written defenses to the attached
         Complaint or Petition on the below-named Plaintiff’s attorneys at
         their stated address within 20 days after you are served with
         this summons, exclusive of the day of service, and to file the
         original of the defenses with the clerk of this Court either
         before service on Plaintiff’s attorneys, or immediately

                                            Page 1 of      2




***ELECTRONICALLY FILED 08/02/2022 05:37:20 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
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 thereafter. If you fail to do so, a default will be entered
 against you for the relief demanded in the complaint.




                                    Donald E. Pinaud, Jr.
                                    Florida Bar No. 111694


                                    ALL FLORIDA JUSTICE, LLC
                                    4530 St. Johns Avenue
                                    Suite 15-202
                                    Jacksonville, Florida 32210
                                    (904)552-5500
                                    (904)467-3500 (fax)
                                    Don@AllFloridaJustice.com
                                    Attorneys for Plaintiff(s)




                                Page 2 of   2
Filing # Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 16 of 24 PageID 48
         155997515  E-Filed 08/24/2022 10:49:08 AM


                                                       IN THE CIRCUIT COUTH SIXTH
                                                       JUDICIAL CIRCUIT, IN AND FOR
                                                       PINELLAS COUNTY, FLORIDA

         WANDA SANTOS,                                 CASE NO.: 2022-CA-002722

                     Plaintiff,
         v.


         BOARD OF TRUSTEES, ST. PETERSBURG COLLEGE,

                  Defendant.
         ________________________________/


                                         AMENDED COMPLAINT

               Plaintiff, Wanda Santos, by and through the undersigned

         attorneys, comes now and files this amended complaint as a matter

         of right and sues Defendant, Board of Trustees, St. Petersburg

         College, and alleges as follows:


               1.     This is an action for damages that exceed $30,000,
                      exclusive of court costs and attorney’s fees.

               2.     This is an action for compensatory damages due to
                      National Origin discrimination in employment brought
                      pursuant to Title VII of the Civil Rights Act of 1964,
                      42 U.S.C. § 2000e, et seq., and the Civil Rights Act of
                      1991,42 U.S.C. § 1981a, et seq., which effects the
                      nature of claims and damages for cases brought pursuant
                      to Title VII.

               3.     The Court has jurisdiction to hear this cause pursuant
                      to 42 U.S.C. § 2000e-5(f) and other applicable federal
                      and laws.

               4.     At all times relevant, Defendant was a public (State of
                      Florida) college of higher education with its principal
                      location in Pinellas County, Florida.

               5.     At all times relevant, Plaintiff was a citizen of the

                                            Page 1 of      5




***ELECTRONICALLY FILED 08/24/2022 10:49:08 AM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 17 of 24 PageID 49



            United States.

      6.    At all times relevant, Plaintiff was an “employee” and
            Defendant was an “employer” as contemplated by Title
            VII.

      7.    At all times relevant, prior to July 31, 2021,
            Plaintiff was employed by Defendant in the capacity as
            a full- time Professor for and with Defendant’s College
            of Education, a position she was hired into by
            Defendant on July 1, 2015.

      8.    All acts giving rise to Plaintiff’s claims occurred in
            Pinellas County, Florida

      9.    Plaintiff is of Hispanic (Puerto Rican) National
            Origin. Such Hispanic national origin is obvious by
            her physical appearance, by reference to her last name,
            and at all times was well-known to Defendant.

      10.   During her employ between July 2015 and June 2021
            Plaintiff performed successfully at her work, and was
            even given an administrative position in addition to
            her teaching responsibilities, as instructor in charge
            for school partnerships.

      12.   During said six year period she always had satisfactory
            evaluations, and never received negative comments on
            any evaluations.

      13.   During said six year period she received numerous
            awards and was instrumental in raising the
            credentialing score of the College of Education.

      14.   Defendant conducts yearly evaluations of professors,
            such as Plaintiff, until their fifth year of
            employment. After the fifth year the typical practice
            is to offer the professor a five-year continuing
            contract. This process involves the Dean of the
            College of Education making a recommendation to the
            Board of Trustees as to whom should be selected for
            various contracts.

      15.   Plaintiff was eligible for consideration for a
            five-year contract in 2020 however, despite her
            exceptional performance in both her teaching and
            administrative positions was only offered a one-year
            contract, which to Plaintiff’s knowledge was very

                                Page 2 of   5
Case 8:22-cv-02032-KKM-AEP Document 2-1 Filed 09/02/22 Page 18 of 24 PageID 50



            rarely, if ever, offered. Plaintiff having no other
            option if she wished to remain employed, accepted the
            one-year contract for the 2020-2021 school year.

      16.   In 2020, Defendant offered five-year contracts to two
            Caucasian professors, who were solely in teaching
            positions and lacked much of the accolades and
            experience that Defendant received throughout her
            employ.

      17.   In May of 2021, the Dean and Plaintiff spoke by
            telephone and in that conversation the Dean informed
            Plaintiff that Plaintiff would be offered an annual
            contract for the upcoming 2021/2022 academic year. Such
            advice by the Dean, however, was never genuine or
            accurate and was merely pretextual. The real purpose of
            the advice by the Dean was to create a sense for
            Plaintiff that she was not being discriminated against
            when in fact this was not true.

      18.   A mere month later in June of 2021, Defendant informed
            Plaintiff by mail that she was being placed on
            administrative leave until the end of her current
            contract and that she would not be offered a contract
            for the 2021-2022 school year stating that “the college
            is headed in a different direction”. This effectively
            terminated Plaintiff’s employ with Defendant.

      19.   Defendant placed Plaintiff on Administrative leave and
            refused to renew her contract because of Defendant’s
            national origin and Defendant’s preference to employ
            Caucasian employees and any other claimed cause by
            Defendant is pretextual. Indeed, until her contract was
            non-renewed Plaintiff was the only person working in
            her job capacity of Hispanic National Origin and after
            her contract was non-renewed there were at least at
            that time no persons working in the same capacity as
            Plaintiff of Hispanic National Origin. In fact, the
            preference for Caucasian employees was established and
            had existed since at least when Defendant demonstrated
            such preference by issuing five year contracts to
            Caucasian employees a year earlier.

      20.   On or about December 7, 2021 Plaintiff timely filed a
            Charge of Discrimination with the United States Equal
            Employment Opportunity Commission (EEOC), Charge Number
            511-2021-02031 wherein Plaintiff charged Defendant with
            National Origin discrimination in employment related to

                                Page 3 of   5
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            the failure to offer Plaintiff a continuing work
            contract by Defendant in contravention of Title VII of
            the Civil Rights Act of 1964, 42 U.S.C. 2000e, et seq.

      21.   The EEOC issued Plaintiff a notice of suit rights which
            allowed Plaintiff to bring the instant action against
            Defendant, a copy of which is attached to this
            complaint as “EXHIBIT A.”

      22.   This action against Defendant is timely commenced
            because it was filed within 90 days of Plaintiff’s
            receipt of his notice of suit rights letter. This
            amended complaint is amended partly to correct the name
            of Defendant. Such error in the original complaint as
            to the name of Defendant was merely typographical in
            nature, however, even if the name change would be
            deemed substantive Defendant is still properly named
            and timely sued under the doctrine of relation back.

      23.   As a result of Defendant’s illegal National Origin
            discrimination against Plaintiff occurring in June
            2021, Plaintiff has suffered damages, and will suffer
            damages in the future, consisting of loss of back pay,
            interest on back pay, loss of front pay, loss of
            anticipated salary due to salary increases, loss of
            opportunity, emotional pain, suffering and
            inconvenience, and mental anguish.

      24.   Plaintiff has retained the undersigned attorney to
            assist her in prosecuting this matter and Plaintiff is
            entitled to recover her reasonable attorney’s fees
            incurred therefor from Defendant should she be the
            prevailing party in this matter, and subject to any
            appropriate Lonestar multiplier.

      25.   Defendant engaged in the above-stated national origin
            discrimination as to Plaintiff with malice or reckless
            indifference to Plaintiff’s federally-protected rights.


      WHEREFORE, Plaintiff demands judgment against Defendant for

 the compensatory damages as alleged above, court costs,

 reasonable attorney’s fees, and other legal and equitable relief

 the Court deems just and proper.


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                                JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.




                                         ALL FLORIDA JUSTICE, LLC




                                         _________________________
                                         Donald E. Pinaud, Jr.
                                         Fla. Bar No.: 111694
                                         4530 St. John’s Avenue
                                         Suite 15-202
                                         Jacksonville, Florida 32210
                                         (904)552-5500
                                         (904)467-3500 - Fax
                                         AllFloridaJustice.com
                                         Don@AllFloridaJustice.com
                                         Attorneys for Plaintiff




                                Page 5 of   5
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             U.S.   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                          Tampa    Field   Ofﬁce
                                                                                                501 East Polk St ,Suitc 1000
                                                                                                        Tampa    ,Florida ,33602
                                                                                                                 (800) 669-4000
                                                                                                      Website:   wwweeocgov


                        DETERMINATION AND NOTICE OF RIGHTS
                             (This Notice replaces     EEOC FORMS          161   &   161-A)



 T0: Dr.      Wanda    Santos
        4224 Crayford Ct
        LAND O LAKES, FL 34638

 Charge No: 51 1-2021-02031


 EEOC Representative and email:                My Linh Kingston
                                               Federal Investigator
                                               mylinh.kingst0n@eeoc.g0v



                                     DETERMINATION OF CHARGE
 The    EEOC                                      The EEOC will not proceed further With its
                 issues the following determination:
 investigation and  makes n0 determination about whether further investigation would establish
 Violations of the statute. This does not mean the claims have no merit. This determination does
 not certify that the respondent is in compliance With the statutes. The EEOC makes no ﬁnding as
 to the merits      of any other issues that might be construed as having been raised by               this charge.


                                 NOTICE 0F YOUR RIGHT T0 SUE
 This   is   ofﬁcial notice from the   EEOC of the     dismissal 0f your charge and 0f your right to sue. If
 you choose                                              on this charge under federal law in federal
                 to ﬁle a lawsuit against the respondent(s)
 or state court, your lawsuit must be ﬁled WITHIN 90 DAYS 0f your receipt 0f this notice.
 Receipt generally occurs on the date that you (or your representative) View this document. You
 should keep a record of the date you received this notice. Your right t0 sue based on this charge
 will be 10st if you d0 not ﬁle a lawsuit in court within 9O days. (The time limit for ﬁling a lawsuit
 based on a claim under state law may be different.)

 If you ﬁle a lawsuit     based on   this charge, please sign-in to the     EEOC Public Portal and upload the
 court complaint to charge 51 1-2021-0203         1.




                                                  On Behalf 0f the Commission:
                                                                                         Digitally   signed by Evangeline

                                                       g      I
                                                                  -
                                                                      4‘     W           Hawthorne
                                                                                         Date: 2022.03.29 09:02:1 6 —04'00'




                                                                                                        EXHIBIT A
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              U.S.   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                     Tampa    Field   Ofﬁce
                                                              501 East Polk St ,Suite 1000
                                                                   Tampa    ,Florida ,33602
                                                                            (800) 669-4000
                                                                 Website:   wwwccocgov



 Mark   Levitt
 ALLEN NORTON & BLUE
 1477 West Fairbanks Ave,         Ste.   100
 Tampa, FL 33602

 Mia Conza
 Associate General Counsel
 Saint Petersburg College
 Downtown DC-E432
 PO Box 13489
 St. Petersburg, FL 33733



 Don Pinaud
 4530   St.   Johns Ave.
 Jacksonville,       FL 322 1 0

 Please retain this notice for your records.
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 Enclosurc With   EEOC Notice   ofClosurc and Rights (Rclcasc Date)




                                   INFORMATION RELATED TO FILING SUIT
                                  UNDER THE LAWS ENFORCED BY THE EEOC
   (This information relates toﬁling suit in Federal 0r Stale court under Federal law. Ifyou also
 plan    lo   sue claiming violations ofSlale law, please be aware that time limits                    may be   Shorter   and
                   other provisions ofState law              may      be different than those described below.)

 IMPORTANT TIME LIMITS — 90 DAYS T0                           FILE A     LAWSUIT
 If you choose to ﬁle a lawsuit against the respondent(s) named in the Charge of discrimination,
 you must ﬁle a complaint in court within 90 days 0f the date you receive this Notice. Receipt
 generally means the date when you (0r your representative) opened this email or mail. You should
 keep a record 0f the date you received this notice. Once this 90-day period has passed, your
 right t0 sue based 0n the charge referred t0 in this Notice will be lost. If you intend t0 consult an
 attorney, you should do so promptly. Give your attorney a copy 0f this Notice, and the record of
 your receiving it (email or envelope).

 Your lawsuit may be ﬁled in U.S. District Court 0r a State court of competent jurisdiction.
 Whether you ﬁle in Federal or State court is a matter for you to decide after talking to your
 attorney.     You must         ﬁle a "complaint" that contains a short statement 0f the facts 0f your case
 which shows         that   you    are entitled t0 relief. Filing this Notice        is   not enough. For more information
 about ﬁling a lawsuit, go t0 https://www.eeoc.gov/emplovees/lawsuit.cfm.

 ATTORNEY REPRESENTATION
 For information about locating an attorney t0 represent you, go                          t0:

 https://www.eeoc.gov/emplovees/lawsuit.cfm.

 In very limited circumstances, a U.S. District Court                      may appoint an attorney to represent individuals
 who    demonstrate that they are ﬁnancially unable t0 afford an attorney.

 HOW T0 REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
 There are two ways to request a charge ﬁle: l) a FOIA Request or 2) a Section 83 request. You may
 request your charge ﬁle under either or both procedures. EEOC can generally respond to Section 83
 requests     more promptly than FOIA                requests.
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 Enclosure With   EEOC Notice   of Closure and Rights (Release Date)




 Since a lawsuit must be ﬁled within 90 days of this notice, please submit your request for the
 charge ﬁle promptly to allow sufﬁcient time for EEOC to respond and for your review. Submit a
 signed written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge
 Number 51 1-2021-02031 to the District Director at Roberto Chavez, 100 SE 2nd                        St Suite 1500
 Miami, FL 33 13 1. You can also make a FOIA request online at
 https://eeoc.arkcase.com/foia/DortaI/quin.


 You may request the  charge ﬁle up to 90 days after receiving this Notice of Right t0 Sue. After the
 90 days have passed, you may request the charge ﬁle only if you have ﬁled a lawsuit in court and
 provide a copy 0f the court complaint t0 EEOC.


 For more information 0n submitting                    FOIA Requests and   Section 83 Requests, go   to:

 https://www.eeoc.gov/eeoc/foia/indexcﬁn.
